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Aaron J. Solomon, Esq.
OVED & OVED LLP
Attorneys for Plaintiffs
401 Greenwich Street
New York, NY 10013

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------X
 TIGRAN OHANIAN,        INDIVIDUALLY AND ON                            CASE NO.: 20-CV-05162
  BEHALF OF ALL OTHER PERSONS SIMILARLY
: SITUATED, AND REGGE LOPEZ, INDIVIDUALLY
  AND ON BEHALF OF ALL OTHER PERSONS SIMILARLY                         CLASS ACTION COMPLAINT
  SITUATED,
                                                                       JURY TRIAL DEMANDED
                                    Plaintiffs,
                - against -

 APPLE INC. AND T-MOBILE USA, INC.

                                      Defendants.
-------------------------------------------------------------------X
         Plaintiffs Tigran Ohanian (“Ohanian”) and Regge Lopez (“Lopez”) (collectively,

“Named Plaintiffs”), by their attorneys, Oved & Oved LLP, complaining of Defendants Apple

Inc. (“Apple”) and T-Mobile USA, Inc. (“T-Mobile”) allege upon knowledge as to themselves,

and upon information and belief as to all other matters, as follows:

                                         SUMMARY OF CLAIMS

         1.       This is a class action brought to redress Apple’s deceptive acts and practices and

material omissions regarding the data privacy and security of its mobile devices, namely the

iPhone and the iMessage and FaceTime features that are unique to the iPhone, as well as T-

Mobile’s deceptive acts and practices and material omissions related to its subscriber

identification modules (“SIM cards”), by which it provides telecommunications services to

consumers through the iPhone.

         2.       During the time period in question, Apple represented to consumers, through a

variety of marketing campaigns both in print and through digital mediums, that the iPhone was
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designed to protect the privacy of users’ data and confidential personal information, and that the

iMessage and Facetime features unique to the iPhone were highly secure methods of

communication. As such, Apple was able to command premium prices for the sale of the iPhone

as compared to other smartphones that were available for purchase on the market.

       3.       At the same time, however, Apple deceived consumers by failing to disclose a

significant security flaw in the Apple iOS software – the operating system for the iPhone –

known only to Apple that allowed iMessage correspondence sent by iPhone users and FaceTime

calls made by iPhone users to be improperly directed to and accessed by third parties.

       4.       During that same time period, T-Mobile marketed and sold iPhone-compatible

SIM cards to consumers for use in the iPhone. However, T-Mobile deceived consumers – who

were under the reasonable belief that the SIM cards would provide them with a private and

secure means to communicate through the iPhone on T-Mobile’s wireless network – by failing to

disclose that its practice of recycling phone numbers linked to SIM cards, and selling those SIM

cards to consumers without requiring prior users to manually disassociate their Apple IDs from

the phone numbers associated with the recycled SIM cards, did not protect the privacy of users’

data and confidential personal information.

       5.       Apple’s failure to disclose the security flaw in the Apple iOS software used in the

iPhone, as well as T-Mobile’s failure to disclose the fact that its SIM card practices did not

protect the privacy of users’ data and confidential personal information, caused consumers who

purchased iPhones and/or utilized T-Mobile SIM cards in iPhones to become the unsuspecting

victims of extensive data security breaches when their iMessage correspondence and FaceTime

calls were improperly accessed by third parties without their knowledge or authorization.




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       6.       Apple’s release of the iOS 12 software on or about September 17, 2018

purportedly resolved these data security issues for iPhone users that actually installed the

software, yet Apple never informed iPhone users, consumers, or the general public of the fact

that the known security flaw in the iOS software led to innumerable unintended disclosures of

iPhone users’ iMessage correspondence and FaceTime calls to third parties for nearly seven

years prior to that. Indeed, even to this day, not all consumers that purchased iPhones or T-

Mobile SIM cards for use in iPhones have installed the iOS 12 software on their iPhones, and the

data security breaches alleged herein still may be affecting those consumers.

       7.       Named Plaintiffs, both of whom are iPhone users that purchased T-Mobile SIM

cards in order to utilize the communications features of the iPhone including iMessage and

FaceTime, bring this proposed consumer class action on their own behalf and on behalf of all

other persons similarly situated who, from the applicable limitations period through the present

(the “Class Period”) purchased Apple iPhones and/or T-Mobile SIM cards for use in iPhones,

and utilized the iMessage and FaceTime features included in all iPhones.

                                          THE PARTIES

       8.       Ohanian is a natural person presently residing in Moscow, Russia.

       9.       Lopez is a natural person presently residing in the State of Florida.

       10.      Apple is a multinational company that manufactures, advertises, markets,

distributes, and sells, inter alia, computer hardware, software, and mobile devices, including the

iPhone. Apple is a California corporation with its principal place of business located at One

Apple Park Way, Cupertino, California 95014.

       11.      T-Mobile is a wireless mobile network operator that manufactures, advertises,

markets, distributes, and sells, inter alia, SIM cards. T-Mobile is a Delaware Corporation with




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its principal place of business located at 12920 SE 38th St., Bellevue, Washington 98006.

                                     JURISDICTION / VENUE

           12.   This Court has original jurisdiction over this matter pursuant to the Class Action

Fairness Act, 28 U.S.C. § 1332(d)(2), because this is a class action, as defined by 28 U.S.C. §

1332(d)(1)(B), in which there are 100 or more class members, a member of the putative class is a

citizen of a different state than Apple and T-Mobile, and the amount in controversy exceeds the

sum or value of $5,000,000.00, excluding interest and costs.

           13.   This Court has personal jurisdiction over Apple pursuant to CPLR § 302(a)(1)

because it transacts business in the State of New York by advertising, marketing, distributing,

and selling its consumer product, the iPhone, throughout New York State to consumers in New

York State, including Named Plaintiffs and members of the class, and it engaged in the

wrongdoing alleged herein in New York State. Further, Apple has sufficient minimum contacts

with New York State and has intentionally availed itself of the consumer market in New York

State, rendering the exercise of jurisdiction by this Court permissible under traditional notions of

fair play and substantial justice.

           14.   This Court has personal jurisdiction over T-Mobile under CPLR § 302(a)(1)

because it transacts business in the State of New York by advertising, marketing, distributing,

and selling SIM cards throughout New York State to consumers in New York State, including

Named Plaintiffs and members of the class, and it engaged in the wrongdoing alleged herein in

New York State. Further, T-Mobile has sufficient minimum contacts with New York State and

has intentionally availed itself of the consumer market in New York State, rendering the exercise

of jurisdiction by this Court permissible under traditional notions of fair play and substantial

justice.




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       15.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a substantial

part of the events or omissions giving rise to these claims occurred in this District.

                                      CLASS ALLEGATIONS

       16.      This action meets the prerequisites of a Class Action under Rule 23(a) of the

Federal Rules of Civil Procedure.

       17.      This action is brought on behalf of Named Plaintiffs and a class consisting of

similarly situated individual consumers who (i) purchased one or more iPhones, or purchased

one or more T-Mobile SIM cards for use in iPhones, during the Class Period; and (ii) utilized the

iMessage and/or FaceTime features of the iPhones through the SIM cards during the Class

Period, by which they became victims of the pervasive data security breaches as alleged herein.

       18.      This action meets the numerosity requirement because the putative class is so

numerous that joinder of all members is impracticable. The exact size of the putative class in

New York State is not yet known, but it is believed to be in excess of 1 million consumers.

       19.      This action meets the commonality requirement because common questions of

law and fact arise from the wrongful conduct of Apple and T-Mobile directed at Named

Plaintiffs and members of the class as described herein that violated New York General Business

Law § 349 (“NY GBL § 349”) and New York General Business Law § 350 (“NY GBL § 350”),

and also give rise to common law claims for fraudulent misrepresentation and unjust enrichment.

Such questions include, inter alia:

       a.       Whether Named Plaintiffs and members of the class purchased iPhones or T-
                Mobile SIM cards for use in iPhones during the Class Period, and utilized the
                iMessage and FaceTime features unique to iPhones during the Class Period;

       b.       Whether Apple possessed material information regarding a security flaw in the
                iOS software utilized in the iPhone that allowed iMessage correspondence and
                FaceTime calls to be improperly accessed by third parties without the knowledge
                or authorization of iPhone users;



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       c.       Whether Apple failed to disclose the existence of the above-mentioned security
                flaw to consumers;

       d.       Whether T-Mobile possessed material information that its practice of recycling
                phone numbers linked to SIM cards, and selling those SIM cards to consumers
                without requiring prior users to manually disassociate their Apple IDs from the
                phone numbers associated with the recycled SIM cards, did not protect the
                privacy of users’ data and confidential personal information;

       e.       Whether T-Mobile failed to disclose to consumers that its SIM card practices did
                not protect the privacy of users’ data and confidential personal information;

       f.       Whether Named Plaintiffs and members of the class suffered damages as a result
                of Apple and T-Mobile’s violations of NY GBL §§ 349 and 350;

       g.       Whether Named Plaintiffs and members of the class suffered damages as a result
                of Apple’s fraudulent misrepresentations and material omissions regarding the
                data privacy and security features of the iPhone as alleged herein;

       h.       Whether Named Plaintiffs and members of the class suffered damages as a result
                of T-Mobile’s fraudulent and material omissions regarding its SIM card practices
                as alleged herein; and

       i.       Whether Apple and T-Mobile were unjustly enriched by their conduct as alleged
                herein.

       20.      This action meets the typicality requirement because Named Plaintiffs are

members of the putative class and Named Plaintiffs’ claims are typical of the claims of the

putative class. Specifically, Named Plaintiffs and each and every member of the putative class

were victims of the same deceptive acts and practices and material omissions made by Apple

regarding the data privacy and security of its mobile devices, and the deceptive acts and practices

and material omissions of T-Mobile related to its SIM cards. Further, Named Plaintiffs seek and

are entitled to relief under the same causes of action as other members of the putative class.

       21.      This action also meets the adequacy requirement. Named Plaintiffs and their

counsel will fairly and adequately protect the interests of the putative class, given that Named

Plaintiffs have retained counsel experienced in class action litigation. Additionally, Named




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Plaintiffs and the class members will not have antagonistic interests to one another, because they

seek the same relief for the wrongful conduct of Apple and T-Mobile as alleged herein.

       22.     Further, this action is properly maintainable as a class action under Federal Rule

of Civil Procedure 23(b), because a class action would prevent unduly duplicative litigation as

well as inconsistent or varying adjudications pertaining to the unlawful actions of both Apple and

T-Mobile as alleged herein.

       23.     Moreover, this action is properly maintainable as a class action under Federal

Rule of Civil Procedure 23(b), because the questions of law or fact common to Named Plaintiffs

and the putative class members discussed supra predominate over any questions affecting only

individual class members, and a class action is superior to other available methods for the fair

and efficient adjudication of this controversy. Named Plaintiffs and the putative class members

also lack the financial resources to adequately prosecute separate lawsuits against Apple and T-

Mobile.

                                 FACTUAL ALLEGATIONS

A.     Apple’s iPhone and Marketing Campaigns

       24.     Apple is an American multinational company that designs, develops, and sells

technology products such as the iPhone. Apple’s iPhone utilizes operating software known as

iOS.

       25.     For years, Apple aggressively marketed the security and privacy features of its

products, including the iPhone, in order to encourage consumers to purchase those products.

       26.     For example, since 2009, Apple’s privacy policy has included the phrase, “Your

privacy is a priority at Apple, and we go to great lengths to protect it.” In fact, a 2009 consumer




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survey conducted by the Ponemon Institute ranked Apple eighth in the World/USA among all

companies as “most trusted for privacy.”

       27.     In addition, beginning in July 2010, Apple consistently marketed the iPhone to

consumers through its website and through other public advertisements as being “[s]afe and

secure by design.” At that time, Apple also made representations to consumers that “iOS 4 [the

iPhone operating system] is highly secure from the moment you turn on your iPhone. All Apps

run in a safe environment, so a website or app can’t access data from other Apps. iOS 4 supports

encrypted network communication to protect your sensitive information. . . .”

B.     Apple Introduces the FaceTime and iMessage Features on the iPhone

       28.     In or about June 2010, Apple introduced FaceTime, allowing iPhone users to

communicate with contacts who also had iPhones through a specialized and proprietary

videotelephone feature.

       29.     Approximately one year later, in or about October 2011, Apple released its own

encrypted instant messaging service, called iMessage, which allowed iPhone users to

communicate with contacts who also had iPhones through a proprietary messaging feature.

       30.     Both services were automatically included in and operated on the iPhone through

the iOS system, were features unique to the Apple iPhones, and were not available on other

smartphones.

C.     SIM Cards and T-Mobile

       31.     Following a consumer’s purchase of an iPhone, the iMessage and FaceTime

features would become associated with the iPhone user’s phone number, Apple ID, and email

address.




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       32.       In order to utilize the iMessage or FaceTime features of the iPhone on a wireless

network, a SIM card needs to be used, which is a small, removable card used to, inter alia, store

data such as the user’s phone number and mobile carrier information.

       33.       Wireless network operators, including T-Mobile, sold SIM cards to consumers,

and marketed and distributed the SIM cards specifically for use in the iPhone.

       34.       Once the iPhone is equipped with a SIM card, both the iMessage and FaceTime

features register with the iPhone user’s phone number from the SIM card, after which the iPhone

user can begin sending iMessage correspondence and making FaceTime calls. Specifically, in

order to send iMessage correspondence or make a FaceTime call, the iPhone reads the iPhone

user’s phone number from the SIM card.

D.     Apple’s Continued Marketing Efforts and Representations to Consumers

       35.       After releasing the iMessage and FaceTime features on the iPhone, Apple

continued to market the security and privacy features of the iPhone, including the iMessage and

FaceTime features, through various advertisements both in print and in digital media. Namely,

between approximately 2011 and 2014, Apple continuously and repeatedly represented to

consumers that, inter alia:

                iMessages on the iPhone were “unlimited” and “secure, too”;

                the iOS operating system on the iPhone was “highly secure from the moment you
                 turn on your iPhone”;

                the iOS operating system on the iPhone protected users’ “sensitive information”;

                iOS-equipped devices such as the iPhone provided “stringent security technology
                 and features”; and

                communications on the iPhone using iMessage and FaceTime were “fully
                 encrypted.”




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       36.       Apple continued to update the technology of the iPhone and the iOS operating

system through 2015. At that time, when it introduced the operating system known as iOS 9 –

which continued, without interruption, to include iMessage and FaceTime – for use on the

iPhone, Apple represented to consumers that “the foundation of iOS” had become “even

stronger” and that Apple had brought to market “advanced security features to further protect”

the privacy of iPhone users.

       37.       Apple again continuously and repeatedly marketed the security and privacy

features of the iPhone, including the iMessage and FaceTime features through 2016 and 2017,

claiming, inter alia:

                “security and privacy are fundamental to the design of Apple hardware, software
                 and services”;

                iMessage and FaceTime used end-to-end encryption to protect iPhone users’ data;

                “Customers expect Apple and other technology companies to do everything in our
                 power to protect their personal information, and at Apple we are deeply
                 committed to safeguarding their data”;

                iOS keeps iPhone users’ information private;

                “At Apple, protecting your information is something we build into our processes
                 from the beginning”;
`
                “iOS is designed to put your privacy first”;

                “iOS offers the most advanced security of any mobile operating system”;

                “The point is, security runs throughout the entire system – everything from the
                 hardware to iOS to the App Store”; and

                “Apple products are designed to do amazing things. And designed to protect your
                 privacy.”

       38.       In or about September 2017, Apple launched an updated website with a new look

and information to highlight its position regarding consumers’ data privacy rights through the



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use of Apple products, including iPhones. Namely, at that time, Apple made the following

representations to consumers:

              At Apple, we believe privacy is a fundamental human right. And
              so much of your personal information – information you have a
              right to keep private – lives on your Apple devices…Who you call,
              email, or message. Every Apple product is designed from the
              ground up to protect that information. And to empower you to
              choose what you share and with whom. We’ve proved time and
              time again that great experiences don’t have to come at the
              expense of your privacy and security.

E.     Apple’s iOS Operating System Allows Users’ Communications
       Through FaceTime and iMessage Services to Be Accessed by Third Parties

       39.    From the time that Apple first introduced Facetime (June 2010) and iMessage

(October 2011) on the iPhone, a significant security flaw existed in the iOS software, allowing

iMessage correspondence and FaceTime calls to be improperly accessed by third parties.

       40.    Specifically, when an iPhone user ceased using a SIM card and the phone number

associated with that SIM card was subsequently recycled by a wireless network carrier such as

T-Mobile, the previous owner of the SIM card associated with that phone number would still be

able to receive iMessages and FaceTime calls on his or her iPhone that were intended to be

received by the new owner of that phone number. This was due to the fact that the Apple ID

associated with iMessage and FaceTime had a legacy connection to the phone number of the

recycled SIM card.

       41.    In other words, because of the legacy connection, iMessage correspondence and

FaceTime calls directed to the new owner of a phone number would lead to the iMessage

correspondence or FaceTime call being unknowingly and improperly misdirected to the prior

owner of the phone number because of its previous association with the SIM card.




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       42.     As such, during the Class Period, all iPhones were capable of receiving, and

routinely did receive, incoming iMessage correspondence and FaceTime calls that were intended

for another iPhone user.

       43.     Similarly, during the Class Period, all outgoing iMessage correspondence and

Face Time calls were capable of being unknowingly misdirected to an unintended iPhone user.

       44.     In fact, the only method by which the unintended and improper disclosure of

iPhone users’ iMessage correspondence and FaceTime calls could be prevented during the time

period in question was the forced disassociation of an Apple ID by the previous owners of the

phone numbers associated with the recycled SIM cards, which neither Apple nor T-Mobile ever

voluntarily disclosed to consumers.

       45.     Rather, during the time period in question, Apple knowingly allowed multiple

unrelated Apple IDs of consumers that had purchased iPhones to coexist and to be associated

with the same phone number, while T-Mobile compounded the problem by engaging in the

deceptive SIM card practices, as alleged supra.

       46.     Indeed, during this time, if an iPhone user was to take another iPhone user’s SIM

card out of his or her iPhone, put it inside their iPhone, and subsequently return the SIM card to

the first user’s iPhone, both iPhone users would receive iMessage correspondence and FaceTime

calls directed to the phone number of the first user of the SIM card, because of the automatic

association with the Apple ID.

F.     The First Known Victims

       47.     The first known victims of the data security breach described herein occurred in

2011 when users’ iPhones were stolen or resold.




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       48.     The issue arose again in February 2012 when Sam Biddle, an employee of an

Apple Store, had his personal messages duplicated on the iPhone of an unknown person.

       49.     Apple did not conduct an internal investigation of the results of events that

occurred with Sam Biddle in 2012. If there were conclusions about what happened, they would

be subject to publication, since the security breaches affected an indefinite number of users.

       50.     In 2011, Ars Technica reported that, although iPhone owners would rightfully

assume that their messages were secure, in reality, “thieves and unsuspecting buyers [were] still

able to send and receive iMessages as the original owner – even after the device is registered

under a new account. Almost nothing seems to work – remote wiping, changing Apple ID

passwords, or even moving the old phone number to a new phone—and users are becoming more

than frustrated that thieves are so easily able to pose as them.” The article made reference to

several iPhone users that had their communications misdirected despite several attempts to cure

the problem themselves.

       51.     iOS security expert Jonathan Zdziarski stated the following regarding this issue:

“iMessage registers with the subscriber's phone number from the SIM, so let's say you restore the

phone, it will still read the phone number from the SIM. I suppose if you change the SIM out

after the phone has been configured, the old number might be cached somewhere either on the

phone or on Apple’s servers with the UDID of the phone.”

       52.     As such, it is clear that Apple allows its services to pull old phone numbers, even

after a SIM card is removed or deactivated.

G.     Named Plaintiffs’ Claims

       53.     Named Plaintiffs were exposed to Apple’s extensive public marketing and

advertising campaigns, wherein Apple represented that its iPhones were secure and protected




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users’ data privacy and confidential information from unintended disclosure to third parties, and

Named Plaintiffs purchased an iPhone 6s (Ohanian) and an iPhone 6 plus (Lopez) on that basis.

        54.   During the Class Period, Ohanian paid a premium price to purchase the iPhone 6s.

        55.   During the Class Period, Ohanian was on vacation in New York City, where he

paid a premium price to purchase a new SIM card from a T-Mobile store in Manhattan, New

York.

        56.   The SIM card that Ohanian purchased from T-Mobile (the “Ohanian SIM Card”)

provided him with a phone number for use in his iPhone, and further, gave Ohanian access to T-

Mobile’s wireless network in order to utilize the iMessage and FaceTime features of the iPhone.

        57.   Ohanian inserted the Ohanian SIM Card into his iPhone, activated it, and it

automatically linked to his Apple ID.

        58.   Ohanian used that particular phone number during the Class Period for

approximately one year.

        59.   During the Class Period, Lopez paid a premium price to purchase an iPhone 6

plus at the Apple Store in Queens, New York.

        60.   During the Class Period, Lopez switched wireless carriers accounts and obtained a

new T-Mobile account.

        61.   In connection therewith, Lopez purchased, and T-Mobile installed, a new SIM

card in Lopez’s iPhone, which provided him with a new phone number (the “Affected Number”).

        62.   Lopez’s iPhone then automatically associated his Apple Account and thus, his

iMessage and FaceTime, with the Affected Number.

        63.   Unbeknownst to Lopez, the Affected Number was the same number that T-

Mobile had previously provided to Ohanian with the Ohanian SIM Card.




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       64.     Even though the Ohanian SIM Card was deactivated and not even still inserted

into Ohanian’s iPhone, Ohanian         began receiving extensive amounts of unwanted

communications on his iPhone 6s via iMessage and FaceTime, which appeared to be addressed

to an unknown new owner of the Affected Number.

       65.     These communications, which were from total strangers, included various media

content. Specifically, during the Class Period, Ohanian received more than 100 iMessages and

FaceTime calls which included, inter alia, private photographs (including those of young

children) and communications that clearly were directed not to Ohanian, but instead were

directed to the unknown new owner of the Affected Number that Ohanian previously had utilized

in connection with the Ohanian SIM Card.

       66.     Due to the sensitive nature of the various media content that Ohanian had

received on his iPhone, Ohanian attempted to address the issue with Apple.

       67.     During the Class Period, Ohanian wrote both to an Apple Store employee and to

Apple CEO Tim Cook with a request to investigate what had occurred.

       68.     Thereafter, and during the Class Period, Ohanian sent the same request to the

Apple Privacy team.

       69.     An Apple Privacy employee subsequently advised Ohanian that he should merely

delete the phone number and SIM card that he was not using, despite the fact that the SIM card

was already blocked, and the fact that the proposed solution would do nothing to resolve the

wide-scale problem of unintended and improper disclosures of iPhone users’ iMessage

correspondence and FaceTime calls to third parties through the security flaw in the iOS software

utilized in the iPhone.




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       70.    Named Plaintiffs subsequently determined that the private communications that

Ohanian improperly received on his iPhone during the time period in question had been directed

and meant for Lopez.

       71.    In sum, after the Ohanian SIM Card was blocked, Lopez had purchased a SIM

card from T-Mobile that had been assigned the Affected Number, which T-Mobile had recycled

from the number on the Ohanian SIM Card.

       72.    Once Lopez activated the SIM card in his new iPhone, Apple services became

associated with the Affected Number, but Ohanian’s old phone number from the Ohanian SIM

Card was still linked to Ohanian’s Apple ID.       As such, all iMessage correspondence and

FaceTime calls intended for, and directed to, the new user of the Affected Number – Lopez –

were instead received by Ohanian on his iPhone.

       73.    Apple never notified Named Plaintiffs – or any other members of the putative

class – that they needed to manually disassociate old phone numbers utilized on iPhones from

their Apple accounts to prevent those iPhone accounts from receiving unwanted (and potentially

harmful) iMessage correspondence and FaceTime calls when those phone numbers are recycled

by wireless network carriers, such as T-Mobile.

       74.    Further, Named Plaintiffs were severely damaged by Defendants’ conduct.

       75.    Specifically, Ohanian suffered, inter alia, significant and irreparable emotional

and marital distress because he was unable to explain to his wife why he was receiving the

content on his iPhone – including pictures of young children – which clearly appeared to be

coming from a woman (who was not Ohanian’s wife).

       76.    Similarly, Lopez suffered, inter alia, significant and irreparable damages,

including emotional distress, because he did not receive, inter alia, the pictures of his child,




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which he can no longer obtain because the relationship between him and the child’s mother has

terminated. Lopez can never get those pictures or memories back.

H.     Apple’s Knowledge and Deliberate Concealment of Security Breaches

       77.     Contrary to Apple’s repeated assurances to the public about the variety of

extensive measures it had implemented to protect the privacy rights of consumers that purchased

Apple iPhones and utilized iMessage and FaceTime – by way of various advertisements and

marketing campaigns touting such features of its iPhones as discussed supra – Apple had been

aware of the problem in its iOS software allowing iPhone users’ communications to be

improperly disclosed to third parties dating back to at least 2012.

       78.     In order to remedy the problem of iPhone users’ communications being

improperly disclosed to third parties, Apple never rewrote its code, nor did Apple advise

consumers to manually disassociate their Apple IDs from the recycled SIM Cards.

       79.     Instead, with the release of iOS 12 on or about September 17, 2018, Apple finally

introduced mandatory multifactor authentication, which is a method by which an iPhone user can

only be granted access to an iPhone by successfully presenting two or more factors in order to

confirm his or her identity. Such factors may include a piece of information only the user would

know or a password.

       80.     Despite the foregoing, Apple never informed consumers and iPhone users –

including Named Plaintiffs and members of the putative class – about the fact that, based on a

security flaw in the iOS software known to Apple, there had been innumerable unintended

disclosures of iPhone users’ iMessage correspondence and FaceTime calls to third parties for

nearly seven years prior to that.




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       81.     Instead, at or near the time that iOS 12 was released and Apple introduced

mandatory two-factor authentication, Apple merely updated its website to state that two-factor

authentication no longer could be turned off on the iPhone.

       82.     Moreover, on information and belief, even to this day, not all consumers that

purchased iPhones or T-Mobile SIM cards for use in iPhones have installed iOS 12 on their

iPhones, and the data security breaches alleged herein still may be affecting those consumers.

                         AS AND FOR A FIRST CAUSE OF ACTION
                          (Violations of NY GBL § 349 Against Apple)

       83.     Named Plaintiffs repeat and re-allege each and every allegation contained in the

above paragraphs as if fully set forth herein.

       84.     Named Plaintiffs bring this claim individually and on behalf of members of the

class based on Apple’s violations of NY GBL § 349.

       85.     NY GBL § 349 was enacted to protect consumers in New York from those that

engage in deceptive or unfair acts or practices in the conduct of any business.

       86.     Apple’s business acts and practices alleged herein, including the representations it

made regarding the data privacy and security features of the iPhone, were specifically directed at

consumers in New York and constitute “consumer-oriented conduct” in New York as described

in NY GBL § 349.

       87.     As detailed throughout the Complaint, at all times relevant herein, Apple, in

conducting its business – which included the advertising, marketing, distributing, and selling of

its consumer product, the iPhone – possessed material information regarding a known security

flaw in the iPhone’s iOS software that allowed iMessage correspondence sent by iPhone users

and FaceTime calls made by iPhone users to be improperly accessed by third parties.




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       88.     At all times relevant herein, Apple failed to inform consumers of the existence of

the aforementioned security flaw in the iPhone’s iOS software, including Named Plaintiffs and

those members of the class that purchased the iPhone during the Class Period.

       89.     Apple’s failure to disclose this information to consumers was a material omission

under NY GBL § 349, because the non-disclosure of the significant security flaw in the iPhone’s

iOS software was likely to mislead a reasonable consumer as to the data privacy and security

features of the iPhone, including the privacy and security of iMessage correspondence and

FaceTime calls. To wit, reasonable consumers, including Named Plaintiff and members of the

class who purchased iPhones during the Class Period, reasonably would have expected that their

communications via iPhone and through the iMessage and FaceTime features of the iPhone were

private and secure, and were not being improperly accessed by third parties.

       90.     Apple’s deceptive acts and practices as alleged herein injured Named Plaintiffs

and members of the class in that they: (i) paid premium prices to purchase iPhones that did not

have the data privacy and security features that Apple represented; and/or (ii) were deprived of

the benefit of the bargain because the iPhones that they purchased had considerably less value

than what Apple represented due to the security flaw in the iOS software that put their personal

confidential information at risk and impacted their privacy rights; and/or (iii) became victims of

privacy violations; and/or (iv) suffered significant and irreparable emotional distress, strained

familial relationships, anxiety, humiliation, and annoyance.

       91.     Apple’s actions impacted the public interest and affected the New York public at

large, because Named Plaintiff and members of the class were injured in exactly the same way as

millions of others who purchased iPhones based on Apple’s generalized course of deceptive

business acts and practices.




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       92.     Apple’s conduct in employing deceptive business acts and practices directed at

consumers as alleged herein was malicious, willful, wanton, and outrageous so as to shock the

conscience of the community and to warrant the imposition of punitive damages.

       93.     Based on Apple’s violations of NY GBL § 349 as alleged herein, Named

Plaintiffs and each member of the class are entitled to recover statutory damages in the sum of

$50 each, plus punitive damages, attorneys’ fees and costs, and any other relief the Court deems

appropriate.

       94.     Given that the size of the putative class is believed to exceed 1 million consumers,

statutory damages based on Apple’s violations of NY GBL § 349 as alleged herein exceed the

sum of $50 million.

                       AS AND FOR A SECOND CAUSE OF ACTION
                         (Violations of NY GBL § 350 Against Apple)

       95.     Named Plaintiffs repeat and re-allege each and every allegation contained in the

above paragraphs as if fully set forth herein.

       96.     Named Plaintiffs bring this claim individually and on behalf of the other members

of the class based on Apple’s violations of NY GBL § 350.

       97.     Apple has been and is engaged in the “conduct of … business, trade or

commerce” within the meaning of NY GBL § 350.

       98.     NY GBL § 350 makes unlawful “[f]alse advertising in the conduct of any

business, trade or commerce.”       NY GBL § 350-a(1) provides that “false advertising” is

advertising that is “misleading in a material respect,” and includes not only representations, “but

also the extent to which the advertising fails to reveal facts material in light of such

representations.”




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           99.    At all times relevant herein, Apple possessed material information regarding a

known security flaw in the iPhone’s iOS software that allowed iMessage correspondence sent by

iPhone users and FaceTime calls made by iPhone users to be improperly accessed by third

parties.

           100.   At all times relevant herein, Apple failed to inform consumers of the

aforementioned security flaw in the iPhone’s iOS software that put consumers’ personal

confidential information at risk and impacted their privacy rights.

           101.   Instead, Apple caused to be disseminated – through advertising, marketing, and

other publications both in print and in digital media, including its website – statements that were

untrue and/or misleading regarding the data privacy and security of the iPhone, including the

iMessage and FaceTime features, that touted the iPhone as having, inter alia, iOS software

which it claimed was the most advanced security of any mobile operating system.

           102.   Apple’s failure to disclose the known security flaw in the iPhone’s iOS software

to consumers was a material omission, because it was likely to mislead a reasonable consumer as

to the data privacy and security features of the iPhone, including the privacy and security of

iMessage correspondence and FaceTime calls.

           103.   Named Plaintiffs and other class members purchased iPhones during the Class

Period in reliance upon Apple’s false advertising regarding the data privacy and security features

of iPhones, and would not have purchased iPhones had Apple not made material omissions

regarding the significant security flaw in the iPhone’s iOS software that put their personal

confidential information at risk and impacted their privacy rights.

           104.   Apple’s false advertising regarding the data privacy and security features of the

iPhone, including its material omissions as alleged herein, injured Named Plaintiffs and members




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of the class in that they: (i) paid premium prices to purchase iPhones that did not have the data

privacy and security features that Apple represented; and/or (ii) were deprived of the benefit of

the bargain because the iPhones that they purchased had considerably less value than what Apple

represented due to the security flaw in the iOS software that put their personal confidential

information at risk and impacted their privacy rights; and/or (iii) became victims of privacy

violations; and/or (iv) suffered significant and irreparable emotional distress, anxiety,

humiliation, and annoyance.

       105.    Apple’s conduct in utilizing false advertising that conveyed material

misrepresentations to consumers regarding the data privacy and security features of the iPhone,

while at the same time making material omissions as to the known security flaw in the iPhone’s

iOS software as alleged herein, was malicious, willful, wanton, and outrageous so as to shock the

conscience of the community and to warrant the imposition of punitive damages.

       106.    Based on Apple’s violations of NY GBL § 350 as alleged herein, Named

Plaintiffs and each member of the class are entitled to recover statutory damages in the sum of

$500 each, plus punitive damages, attorneys’ fees and costs, and any other relief the Court deems

appropriate.

       107.    Given that the size of the putative class is believed to exceed 1 million consumers,

statutory damages based on Apple’s violations of NY GBL § 350 as alleged herein exceed the

sum of $500 million.

                        AS AND FOR A THIRD CAUSE OF ACTION
                        (Fraudulent Misrepresentation Against Apple)

       108.    Named Plaintiffs repeat and re-allege each and every allegation contained in the

above paragraphs as if fully set forth herein.




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       109.    Named Plaintiffs bring this claim individually and on behalf of the other members

of the class based on Apple’s fraudulent misrepresentations and material omissions regarding the

data privacy and security of the iPhone and its unique iMessage and FaceTime features.

       110.    At all times relevant herein, Apple, in conducting its business – which included

the advertising, marketing, distributing, and selling of its consumer product, the iPhone –

possessed material information regarding a known security flaw in the iPhone’s iOS software

that allowed iMessage correspondence sent by iPhone users and FaceTime calls made by iPhone

users to be improperly accessed by third parties.

       111.    At all times relevant herein, Apple failed to inform consumers, including Named

Plaintiffs and members of the class, of the aforementioned security flaw in the iPhone’s iOS

software that put their personal confidential information at risk and impacted their privacy rights.

In fact, at all times relevant herein, rather than disclosing the existence of the known security

flaw to consumers, Apple touted the iPhone as having, inter alia, iOS software which it claimed

was the most advanced security of any mobile operating system.

       112.     After FaceTime and iMessage first were introduced on the iPhone, Apple was

well aware of the security flaw that existed in the iOS software. However, Apple failed to

disclose the known security flaw in the iPhone’s iOS software to Named Plaintiffs and members

of the class for purposes of inducing them to purchase iPhones, because Named Plaintiffs and

members of the class would not have purchased iPhones had they known about the significant

security flaw in the iPhone’s iOS software that put their personal confidential information at risk

and impacted their privacy rights.

       113.    Named Plaintiffs and members of the class justifiably relied on Apple’s material

omissions regarding the data privacy and security features of iPhones, and purchased iPhones




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during the Class Period under the reasonable but mistaken belief that their personal confidential

information and privacy rights would be protected when using the iPhone.

       114.       Apple’s fraudulent misrepresentations and material omissions regarding the data

privacy and security features of the iPhone caused Named Plaintiffs and other class members to

suffer damages including, inter alia, monies that they paid to purchase iPhones that had

considerably less value than what Apple represented, due to the security flaw in the iOS software

that put their personal confidential information at risk and impacted their privacy rights. In other

words, Named Plaintiffs and members of the class did not receive the benefit of the bargain.

       115.       Apple’s conduct as alleged herein was malicious, willful, wanton, and outrageous

so as to shock the conscience of the community and to warrant the imposition of punitive

damages.

                             AS AND FOR A FOURTH CAUSE OF ACTION
                                  (Unjust Enrichment Against Apple)

       116.       Named Plaintiffs repeat and re-allege each and every allegation contained in the

above paragraphs as if fully set forth herein.

       117.       In the alternative to their claims for violations of GBL §§ 349 and 350 and their

claim for fraudulent misrepresentation, Named Plaintiffs, on behalf of themselves and members

of the class, bring a common law claim for unjust enrichment against Apple.

       118.       As alleged herein, Apple violated state law by advertising, marketing,

distributing, and selling iPhones to consumers, including Named Plaintiffs and members of the

class, while misrepresenting and omitting material facts regarding the data privacy and security

of the iPhones.

       119.       Named Plaintiffs and members of the class conferred significant financial benefits

and paid substantial sums of money to Apple to purchase iPhones during the Class Period, which



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were not as Apple represented them to be, namely with respect to the iPhones’ data privacy and

security features.

        120.   Apple’s unlawful conduct as described in the Complaint enriched Apple and

allowed Apple to realize substantial revenues from selling its iPhones at the expense of, and to

the detriment of, Named Plaintiffs and members of the class.

        121.   Under New York’s common law principles of unjust enrichment, it is against

equity and good conscience to permit Apple to retain the benefits and substantial revenues

conferred upon it from selling its iPhones to Named Plaintiffs and members of the class, given

that the iPhones were not as Apple represented them to be.

        122.   Accordingly, Named Plaintiffs and members of the class seek disgorgement of all

such profits from Apple, from which Named Plaintiffs and members of the class may seek

restitution.

                         AS AND FOR A FIFTH CAUSE OF ACTION
                        (Violations of NY GBL § 349 Against T-Mobile)

        123.   Named Plaintiffs repeat and re-allege each and every allegation contained in the

above paragraphs as if fully set forth herein.

        124.   Named Plaintiffs bring this claim individually and on behalf of members of the

class based on T-Mobile’s violations of NY GBL § 349.

        125.   NY GBL § 349 was enacted to protect consumers in New York from those that

engage in deceptive or unfair acts or practices in the conduct of any business.

        126.   T-Mobile’s business acts and practices alleged herein, namely, its sale of SIM

cards for use in the iPhone, were specifically directed at consumers in New York and constitute

“consumer-oriented conduct” in New York as described in NY GBL § 349.




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       127.    At all times relevant, T-Mobile possessed material information that its practice of

recycling phone numbers linked to SIM cards, and selling those SIM cards to consumers for use

in the iPhone without requiring prior users to manually disassociate their Apple IDs from the

phone numbers associated with the recycled SIM cards, did not protect the privacy of

consumers’ data and confidential personal information while using the iPhone.

       128.    At all times relevant, T-Mobile failed to inform consumers of the fact that its

practice of recycling phone numbers linked to SIM cards, and selling those SIM cards to

consumers for use in the iPhone without requiring prior users to manually disassociate their

Apple IDs from the phone numbers associated with the recycled SIM cards, did not protect the

privacy of consumers’ data and confidential information while using the iPhone.

       129.    T-Mobile’s failure to disclose this information to consumers was a material

omission, because it was likely to mislead a reasonable consumer who would reasonably believe

that he or she was purchasing a SIM card that would provide a private and secure means to

communicate through the iPhone. To wit, reasonable consumers, including Named Plaintiff and

members of the class who purchased SIM Cards from T-Mobile for use in iPhones during the

Class Period, reasonably would have expected that those SIM cards would allow them to

privately and securely communicate through the iPhone, and that their communications would

not be improperly accessed by third parties.

       130.    T-Mobile’s deceptive acts and practices as alleged herein injured Named

Plaintiffs and members of the class in that they: (i) paid premium prices to purchase T-Mobile

SIM cards that did not provide them with a private and secure means to communicate through

the iPhone on the T-Mobile wireless network; and/or (ii) were deprived of the benefit of the

bargain because the T-Mobile SIM cards that they purchased had considerably less value than




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what T-Mobile represented due to the fact that the T-Mobile SIM cards did not provide them

with a private and secure means to communicate through the iPhone on the T-Mobile wireless

network; and/or (iii) became victims of privacy violations; and/or (iv) suffered significant and

irreparable emotional distress, anxiety, humiliation, and annoyance.

       131.    T-Mobile’s actions impacted the public interest and affected the New York public

at large, because Named Plaintiffs and members of the class were injured in exactly the same

way as millions of others who purchased T-Mobile SIM cards to use in iPhones based on a

reasonable expectation that their data and confidential personal information would be protected.

       132.    T-Mobile’s conduct in employing deceptive business acts and practices directed at

consumers as alleged herein was malicious, willful, wanton, and outrageous so as to shock the

conscience of the community and to warrant the imposition of punitive damages.

       133.    Based on T-Mobile’s violations of NY GBL § 349 as alleged herein, Named

Plaintiffs and each member of the class are entitled to recover statutory damages in the sum of

$50 each, plus punitive damages, attorneys’ fees and costs, and any other relief the Court deems

appropriate.

       134.    Given that the size of the putative class is believed to exceed 1 million consumers,

statutory damages based on T-Mobile’s violations of NY GBL § 349 as alleged herein exceed

the sum of $50 million.

                         AS AND FOR A SIXTH CAUSE OF ACTION
                        (Violations of NY GBL § 350 Against T-Mobile)

       135.    Named Plaintiffs repeat and re-allege each and every allegation contained in the

above paragraphs as if fully set forth herein.

       136.    Named Plaintiffs bring this claim individually and on behalf of the other members

of the class based on T-Mobile’s violations of NY GBL § 350.



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       137.      T-Mobile has been and is engaged in the “conduct of … business, trade or

commerce” within the meaning of NY GBL § 350.

       138.      NY GBL § 350 makes unlawful “[f]alse advertising in the conduct of any

business, trade or commerce.”        NY GBL § 350-a(1) provides that “false advertising” is

advertising that is “misleading in a material respect,” and includes not only representations, “but

also the extent to which the advertising fails to reveal facts material in light of such

representations.”

       139.      At all times relevant, T-Mobile marketed and sold SIM cards to consumers for use

in the iPhone.

       140.      At all times relevant, T-Mobile possessed material information that its practice of

recycling phone numbers linked to SIM cards, and selling those SIM cards to consumers for use

in the iPhone without requiring prior users to manually disassociate their Apple IDs from the

phone numbers associated with the recycled SIM cards, did not protect the privacy of

consumers’ data and confidential personal information while using the iPhone.

       141.      At all times relevant, T-Mobile failed to inform consumers of the fact that its

practice of recycling phone numbers linked to SIM cards, and selling those SIM cards to

consumers for use in the iPhone without requiring prior users to manually disassociate their

Apple IDs from the phone numbers associated with the recycled SIM cards, did not protect the

privacy of consumers’ data and confidential personal information while using the iPhone.

       142.      T-Mobile’s failure to disclose this information to consumers was a material

omission, because it was likely to mislead a reasonable consumer who would reasonably believe

that he or she was purchasing a SIM card that would provide a private and secure means to

communicate through the iPhone.




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       143.    Named Plaintiffs and other class members purchased T-Mobile SIM cards during

the Class Period in reliance upon T-Mobile’s false advertising that its SIM cards would provide

them with a private and secure means to communicate through the iPhone, and would not have

purchased T-Mobile SIM cards had they known that the SIM cards did not protect the privacy of

their data and confidential personal information while using the iPhone.

       144.    T-Mobile’s false advertising and material omissions as alleged herein injured

Named Plaintiffs and members of the class in that they: (i) paid premium prices to purchase T-

Mobile SIM cards that did not provide them with a private and secure means to communicate

through the iPhone on the T-Mobile wireless network; and/or (ii) were deprived of the benefit of

the bargain because the T-Mobile SIM cards that they purchased had considerably less value

than what T-Mobile represented due to the fact that the T-Mobile SIM cards did not provide

them with a private and secure means to communicate through the iPhone on the T-Mobile

wireless network; and/or (iii) became victims of privacy violations; and/or (iv) suffered

significant and irreparable emotional distress, anxiety, humiliation, and annoyance.

       145.    T-Mobile’s conduct as alleged herein was malicious, willful, wanton, and

outrageous so as to shock the conscience of the community and to warrant the imposition of

punitive damages.

       146.    Based on T-Mobile’s violations of NY GBL § 350 as alleged herein, Named

Plaintiffs and each member of the class are entitled to recover statutory damages in the sum of

$500 each, plus punitive damages, attorneys’ fees and costs, and any other relief the Court deems

appropriate.




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       147.      Given that the size of the putative class is believed to exceed 1 million consumers,

statutory damages based on T-Mobile’s violations of NY GBL § 350 as alleged herein exceed

the sum of $500 million.

                       AS AND FOR A SEVENTH CAUSE OF ACTION
                       (Fraudulent Misrepresentation Against T-Mobile)

       148.      Named Plaintiffs repeat and re-allege each and every allegation contained in the

above paragraphs as if fully set forth herein.

       149.      Named Plaintiffs bring this claim individually and on behalf of the other members

of the class based on T-Mobile’s fraudulent and material omissions related to its SIM card

practices.

       150.      At all times relevant, T-Mobile marketed and sold SIM cards to consumers for use

in the iPhone.

       151.      At all times relevant, T-Mobile possessed material information that its practice of

recycling phone numbers linked to SIM cards and selling those SIM cards to consumers for use

in the iPhone without requiring prior users to manually disassociate their Apple IDs from the

phone numbers associated with the recycled SIM cards, did not protect the privacy of

consumers’ data and confidential personal information while using the iPhone.

       152.      At all times relevant, T-Mobile failed to inform consumers, including Named

Plaintiffs and members of the class, of the fact that its practice of recycling phone numbers

linked to SIM cards and selling those SIM cards to consumers for use in the iPhone without

requiring prior users to manually disassociate their Apple IDs from the phone numbers

associated with the recycled SIM cards, did not protect the privacy of their data and confidential

personal information while using the iPhone.




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       153.    T-Mobile failed to disclose its SIM card practices to Named Plaintiffs and

members of the class for purposes of inducing them to purchase T-Mobile SIM cards, because

Named Plaintiffs and members of the class would not have purchased T-Mobile SIM cards had

they known that the SIM cards would not provide them with a private and secure means to

communicate through the iPhone.

       154.    Named Plaintiffs and members of the class justifiably relied on T-Mobile’s

material omissions regarding its SIM card practices as alleged supra, and purchased T-Mobile

SIM cards during the Class Period under the reasonable but mistaken belief that the SIM cards

would provide them with a private and secure means to communicate through the iPhone on T-

Mobile’s wireless network.

       155.    T-Mobile’s fraudulent and material omissions as alleged herein caused Named

Plaintiffs and other class members to suffer damages including, inter alia, monies that they paid

to purchase SIM cards that had considerably less value than what T-Mobile represented, due to

the fact that the SIM cards did not provide them with a private and secure means to communicate

through the iPhone on the T-Mobile wireless network. In other words, Named Plaintiffs and

members of the class did not receive the benefit of the bargain.

       156.    T-Mobile’s conduct as alleged herein was malicious, willful, wanton, and

outrageous so as to shock the conscience of the community and to warrant the imposition of

punitive damages.

                      AS AND FOR AN EIGHTH CAUSE OF ACTION
                          (Unjust Enrichment Against T-Mobile)

       157.    Named Plaintiffs repeat and re-allege each and every allegation contained in the

above paragraphs as if fully set forth herein.




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       158.    In the alternative to their claims for violations of GBL §§ 349 and 350 and their

claim for fraudulent misrepresentation, Named Plaintiffs, on behalf of themselves and members

of the class, bring a common law claim for unjust enrichment against T-Mobile.

       159.    As alleged herein, T-Mobile violated state law by advertising, marketing,

distributing, and selling iPhone-compatible SIM cards for use in the iPhone to consumers,

including Named Plaintiffs and members of the class, while failing to inform consumers of the

fact that its practice of recycling phone numbers linked to SIM cards, and selling those SIM

cards to consumers for use in the iPhone without requiring prior users to manually disassociate

their Apple IDs from the phone numbers associated with the recycled SIM cards, did not protect

the privacy of consumers’ data and confidential information while using the iPhone.

       160.    Named Plaintiffs and members of the class conferred significant financial benefits

and paid substantial sums of money to T-Mobile to purchase SIM cards during the Class Period

which were not as T-Mobile represented them to be, because Named Plaintiffs and members of

the class reasonably would have expected that those SIM cards would allow them to privately

and securely communicate through the iPhone, and that their communications would not be

improperly accessed by third parties.

       161.    T-Mobile’s unlawful conduct as described in the Complaint enriched T-Mobile

and allowed T-Mobile to realize substantial revenues from selling its SIM cards at the expense

of, and to the detriment of, Named Plaintiffs and members of the class.

       162.    Under New York’s common law principles of unjust enrichment, it is against

equity and good conscience to permit T-Mobile to retain the benefits and substantial revenues

conferred upon it from selling its SIM cards to Named Plaintiffs and members of the class, given

that the SIM cards were not as T-Mobile represented them to be.




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        163.   Accordingly, Named Plaintiffs and members of the class seek disgorgement of all

such profits from T-Mobile, from which Named Plaintiffs and members of the class may seek

restitution.

                                            JURY DEMAND

        Named Plaintiffs demand a trial by jury on all claims in this action.

        WHEREFORE, Named Plaintiffs, on behalf of themselves and all other similarly

situated, respectfully demand relief as follows:

               a. Declaring this action to be a proper class action and certifying Named
                  Plaintiffs as the representatives of the class under Rule 23 of the Federal Rules
                  of Civil Procedure;

               b. On the First Cause of Action, an award of statutory damages, punitive
                  damages, and attorneys’ fees and costs;

               c. On the Second Cause of Action, an award of statutory damages, punitive
                  damages, and attorneys’ fees and costs;

               d. On the Third Cause of Action, an award of damages, punitive damages, and
                  attorneys’ fees and costs;

               e. On the Fourth Cause of Action, disgorgement of profits and establishment of a
                  fund through which Named Plaintiffs and members of the class may seek
                  restitution;

               f. On the Fifth Cause of Action, an award of statutory damages, punitive
                  damages, and attorneys’ fees and costs;

               g. On the Sixth Cause of Action, an award of statutory damages, punitive
                  damages, and attorneys’ fees and costs;

               h. On the Seventh Cause of Action, an award of damages, punitive damages, and
                  attorneys’ fees and costs;

               i. On the Eighth Cause of Action, disgorgement of profits and establishment of a
                  fund through which Named Plaintiffs and members of the class may seek
                  restitution;




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            j. An award of Named Plaintiffs’ reasonable attorneys’ fees, costs, and expenses
               incurred in connection with this action and any other post-Judgment collection
               efforts, to the extent not already awarded; and

            k. Such other, further, and different relief as the Court deems just and proper.

Dated: New York, New York
       July 6, 2020


                                             /s Aaron J. Solomon ____
                                             Aaron J. Solomon, Esq.
                                             OVED & OVED LLP
                                             Attorneys for Plaintiffs
                                             401 Greenwich Street
                                             New York, NY 10013
                                             Tel: 212.226.2376




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